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    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
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   11    DEREK JASON YARD,                       Case No. CV 21-2937-GW-RAOx

   12                       Plaintiff,

   13          v.                                  ORDER TO DISMISS WITH
                                                   PREJUDICE
   14    COUNTY OF LOS ANGELES, et
         al.,
   15
                            Defendants.
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              Based upon the stipulation between the parties and their respective counsel,
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        it is hereby ORDERED that this action is dismissed with prejudice in its entirety.
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              IT IS SO ORDERED.
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        Dated: October 28, 2021
   23
                                              _________________________________
   24
                                              HON. GEORGE H. WU,
   25                                         UNITED STATES DISTRICT JUDGE
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